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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

                                                  §
 THE CINCINNATI INSURANCE                         §
 COMPANY,                                         §
                                                  §
        Plaintiff,                                §
                                                  §
                                                  § CASE NO. 1:21-cv-298
                                                  §
 v.                                               §
                                                  § JUDGE:
 ELECTRIC RELIABILITY COUNCIL                     §
 OF TEXAS, INC., MARK CARPENTER,                  §
 LORI COBOS, KEITH EMERY, NICK                    §
 FEHRENBACH, KEVIN GRESHAM,                       §
 SAM HARPER, CLIFTON KARNEL,                      §
 BILL MAGNESS, JACQUELINE                         §
 SARGENT, DeANN WALKER,                           §
 Members of the Board of Directors,               §
 BILL MAGNESS, Chief Executive                    §
 Officer, JEYANT TAMBY, Senior Vice               §
 President and Chief Administrative               §
 Officer, and WOODY RICKERSON,                    §
 Vice President, Grid Planning and                §
 Operations, in their official capacities         §
 as Directors and Officers of ELECTRIC            §
 RELIABILITY COUNCIL OF TEXAS,                    §
 INC.                                             §
                                                  §
        Defendants.                               §


                     COMPLAINT FOR DECLARATORY JUDGMENT

       COMES NOW The Cincinnati Insurance Company (“Cincinnati”), seeking Declaratory

Judgment and other relief under 28 U.S.C. §§ 2201 and 2202 and Rule 57 of the Federal Rules of

Civil Procedure, and in support of its Complaint, Cincinnati respectfully states as follows:




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                                   NATURE OF THE ACTION

       1.      Cincinnati asks the Court to issue a judgment pursuant to 28 U.S.C. § 2201,

declaring that the policy of insurance issued by Cincinnati to Electric Reliability Council of Texas,

Inc. (“ERCOT”), does not require Cincinnati to defend or indemnify ERCOT in connection with

certain underlying matters, including 19 separate lawsuits against ERCOT. These suits seek

damages arising out of the mid-February 2021 Winter Storm Uri and the related power outages

that occurred across the state of Texas. This declaratory judgment is requested in order to

determine an actual controversy between the parties regarding insurance coverage for ERCOT in

relation to the underlying matters.

                                             PARTIES

       2.      Cincinnati is an Ohio corporation with its principal place of business in Fairfield,

Ohio. Cincinnati has never been a citizen of the State of Texas, is still not a citizen of the State of

Texas, and is currently a citizen of the State of Ohio.

       3.      ERCOT is a Texas nonprofit corporation with its principal place of business in

Austin, Texas, and is a citizen of the State of Texas. The registered agent for ERCOT is Bill

Magness, 7620 Metro Center Drive, Austin, TX 78744, who is also a citizen of the State of Texas.

       4.      Mark Carpenter, Lori Cobos, Keith Emery, Nick Fehrenbach, Kevin Gresham, Sam

Harper, Clifton Karnel, Jacqueline Sargent, DeAnn Walker, and Bill Magness are members of the

Board of Directors of ERCOT. Defendants Mark Carpenter, Lori Cobos, Keith Emery, Nick

Fehrenbach, Kevin Gresham, Sam Harper, Clifton Karnel, Jacqueline Sargent, DeAnn Walker,

and Bill Magness may be served with process at ERCOT’S principal place of business, 7620 Metro

Center Drive, Austin, TX 78744. All members of the Board of Directors identified above are

citizens of the State of Texas.



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        5.      Defendant Bill Magness is Chief Executive Officer of ERCOT. Defendant Magness

is sued in his official capacity. Defendant Magness may be served with process at ERCOT’s

principal place of business, 7620 Metro Center Drive, Austin, Texas 78744. Bill Magness is a

citizen of the State of Texas.

        6.      Defendant Jeyant Tamby is Senior Vice President and Chief Administrative Officer

of ERCOT. Defendant Tamby is sued in his official capacity. Defendant Tamby may be served

with process at ERCOT’s principal place of business, 7620 Metro Center Drive, Austin, Texas

78744. Jeyant Tamby is a citizen of the State of Texas.

        7.      Defendant Woody Rickerson is Vice President, Grid Planning and Operations.

Defendant Rickerson is sued in his official capacity. Defendant Rickerson may be served with

process at ERCOT’s principal place of business, 7620 Metro Center Drive, Austin, Texas 78744.

Woody Rickerson is a citizen of the State of Texas.

                                         JURISDICTION

        8.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because the

amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000), exclusive of costs,

interest, and attorney’s fees, and there exists complete diversity of citizenship.

                                              VENUE

        9.      Venue is proper in the Western District of Texas under 28 U.S.C. § 1391(b) because

ERCOT has its principal place of business in Austin, Texas, and the events giving rise to this

lawsuit occurred in this district.




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                                    FACTUAL BACKGROUND

   A. The Policy

         10.      Cincinnati issued policy number ENP 017 12 52 to ERCOT (the “Policy”). The

Policy includes Commercial General Liability (“CGL”) Coverage. The Policy was effective from

June 1, 2019 to June 1, 2022.

         11.      The Policy was issued and delivered to ERCOT through ERCOT’s insurance

agency, Marsh Wortham, a division of Marsh USA, Inc. (“Marsh”). Marsh is located in Austin,

Texas.

         12.      The Policy’s Insuring Agreement for Coverage A, which applies to Bodily Injury

or Property Damage, provides:

                  We will pay those sums that the insured becomes legally obligated to pay
                  as damages because of "bodily injury" or "property damage" to which this
                  insurance applies. We will have the right and duty to defend the insured
                  against any "suit" seeking those damages. However, we will have no duty
                  to defend the insured against any "suit" seeking damages for "bodily injury"
                  or "property damage" to which this insurance does not apply. We may, at
                  our discretion, investigate any "occurrence" and settle any claim or "suit"
                  that may result. But:

                  (1) The amount we will pay for damages is limited as described in
                  SECTION III - LIMITS OF INSURANCE; and
                  (2) Our right and duty to defend ends when we have used up the applicable
                  limit of insurance in the payment of judgments or settlements under
                  SECTION I - COVERAGES, COVERAGE A. BODILY INJURY AND
                  PROPERTY DAMAGE LIABILITY; SECTION I -COVERAGES,
                  COVERAGE B. PERSONAL AND ADVERTISING INJURY
                  LIABILITY; or medical expenses under SECTION I - COVERAGES,
                  COVERAGE C.
                  MEDICAL PAYMENTS. No other obligation or liability to pay sums or
                  perform acts or services is covered unless expressly provided for under
                  SUPPLEMENTARY PAYMENTS - COVERAGES A AND B.

         13.      Occurrence” is defined by the Policy to mean: “an accident, including

continuous or repeated exposure to substantially the same general harmful conditions.”



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       14.      "Property damage" is defined by the Policy to mean:

                a. Physical injury to tangible property, including all resulting loss of use of
                that property. All such loss of use shall be deemed to occur at the time of
                the physical injury that caused it; or

                b. Loss of use of tangible property that is not physically injured. All such
                loss of use shall be deemed to occur at the time of the "occurrence" that
                caused it. For the purposes of this insurance, "electronic data" is not tangible
                property.

       15.      "Bodily injury" is defined by the policy to mean: “bodily injury, sickness or

disease sustained by a person, including death resulting from any of these at any time.”

       16.      The Policy defines “Suit” as follows:

                "Suit" means a civil proceeding in which money damages because of
                "bodily injury", "property damage" or "personal and advertising injury" to
                which this insurance applies are alleged. "Suit" includes:
                a. An arbitration proceeding in which such damages are claimed and to
                which the insured must submit or does submit with our consent;
                b. Any other alternative dispute resolution proceeding in which such
                damages are claimed and to which the insured submits with our consent; or
                c. An appeal of a civil proceeding.

       17.      The Policy contains the following exclusions applicable to Coverage A, the

coverage for Bodily Injury or Property Damage:

                This insurance does not apply to:

                a. Expected or Intended Injury
                "Bodily injury" or "property damage" which results from the intentional or
                criminal acts of the insured or which is in fact expected or intended by the
                insured, even if the injury or damage is of a different degree or type than
                actually expected or intended. This exclusion does not apply to "bodily
                injury" resulting from the use of reasonable force to protect persons or
                property.

                b. Contractual Liability
                "Bodily injury" or "property damage" for which the insured is obligated to
                pay damages by reason of the assumption of liability in a contract or
                agreement. This exclusion does not apply to liability for damages:




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                       (1) That the insured would have in the absence of the contract or
                       agreement; or

                       (2) Assumed in a contract or agreement that is an "insured contract",
                       provided the "bodily injury" or "property damage" occurs
                       subsequent to the execution of the contract or agreement. When a
                       claim for such "bodily injury" or "property damage" is made, we
                       will defend that claim provided the insured has assumed the
                       obligation to defend such claim in the "insured contract". Such
                       defense payments will not reduce the limits of insurance.

       18.      The following two exclusions are endorsed onto the policy:

                EXCLUSION – TESTING OR CONSULTING ERRORS AND
                OMISSIONS (CG 22 33 04 13)

                This endorsement modifies insurance provided under the following:

                COMMERCIAL GENERAL LIABILITY COVERAGE PART

                The following exclusion is added to Paragraph 2. Exclusions of Section I -
                Coverage A – Bodily Injury And Property Damage Liability and
                Paragraph 2. Exclusions of Section I – Coverage B - Personal And
                Advertising Injury Liability:

                This insurance does not apply to "bodily injury", "property damage" or
                "personal and advertising injury" arising out of:
                       1. An error, omission, defect or deficiency in:
                       a. Any test performed; or
                       b. An evaluation, a consultation or advice given;

                                  by or on behalf of any insured;

                       2. The reporting of or reliance upon any such test, evaluation,
                          consultation or advice; or
                       3. An error, omission, defect or deficiency in experimental data or
                          the insured’s interpretation of that data.

                                        *    *   *

                EXCLUSION - FAILURE TO SUPPLY (CG 22 50 04 13)

                This endorsement modifies insurance provided under the following:

                COMMERCIAL GENERAL LIABILITY COVERAGE PART



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                This insurance does not apply to "bodily injury" or "property damage"
                arising out of the failure of any insured to adequately supply gas, oil, water,
                electricity, steam or biofuel.

                This exclusion does not apply if the failure to supply results from the sudden
                and accidental injury to tangible property owned or used by any insured to
                procure, produce, process or transmit the gas, oil, water, electricity, steam
                or biofuel.

                                          *   *    *

   B. Winter Storm Uri

       19.      The February 13–17, 2021 North American winter storm, unofficially referred to

as Winter Storm Uri, was a major cold weather, ice storm. It had widespread impacts across

the United States, with the worst of the storm’s effects being in Texas. The storm’s effects began

as early as February 5, 2021.

       20.      On February 14–15, 2021, Winter Storm Uri brought snow, ice, and freezing

temperatures across Texas. As a result, power equipment—unable to sustain the higher-than-

normal energy and heating demand from residential and business customers—failed across Texas.

At the peak of the outages, at least 4.5 million Texas residents were left without electricity. ERCOT

ordered rolling blackouts in an attempt to manage the power grid and prevent widespread, long-

duration blackouts.

       21.      ERCOT supplies, evaluates, consults, advises and provides testing regarding the

flow of electric power to more than 26 million Texas customers -- representing about 90 percent

of the state’s electric load. As the independent system manager for the region, and based on its

evaluations, consultation, advice and testing, ERCOT schedules power on an electric grid that

connects more than 46,500 miles of transmission lines and 680+ generation units.

       22.      ERCOT describes itself as an “air traffic controller” in everyday parlance. Just as

the air traffic control tower evaluates which planes are approved to land on a particular runway at


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a particular time, ERCOT evaluates where to send electrical power and in what amounts to achieve

adequate service and supply of real-time demands for electricity.

   C. The Underlying Claims and Suits

       23.      On or about March 4, 2021, Marsh began notifying Cincinnati of 19 underlying

lawsuits (“the Underlying Lawsuits”) against ERCOT and two non-suit, underlying matters (the

Underlying Lawsuits and the two non-suit underlying matters are collectively “the Underlying

Matters.”). The two underlying matters that are not suits are requests to preserve documents and

information and to produce documents or information. Marsh sought insurance coverage on

ERCOT’s behalf for the Underlying Matters. The Underlying Lawsuits include claims for

negligence, negligence per se, gross negligence, and claims under the Texas Deceptive Trade

Practices Act. All of the Underlying Matters arise out of power outages due to Winter Storm Uri.

       24.      On or about March 4, 2021, Cincinnati was advised that ERCOT retained Elliot

Clark of Winstead P.C. to represent ERCOT in litigation matters related to the February 2021

Extreme Cold Event.

       25.      On March 18, 2021, Cincinnati sent ERCOT a preliminary Reservation of Rights

letter. The Reservation of Rights letter included requests for information made to facilitate

Cincinnati’s coverage investigation.

       26.      Cincinnati did not receive a response to the Reservation of Rights letter’s

information requests as of the date of this Complaint.

       27.      Cincinnati issued a coverage position letter based on the allegations and statements

in the Underlying Matters and known information regarding them (the “Coverage Position

Letter”). For the reasons described in the Coverage Position Letter and as further set forth in this




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Complaint, the Policy does not provide a duty to defend or indemnify the Underlying Matters,

including the Underlying Lawsuits.

       28.      The Underlying Matters include the following allegations:

       29.      Guillermo Alonso, Cynthia Alonso et al. v. ERCOT et al.; Cause No.

2021CVH00413D1; in the 49th Judicial District Court of Webb County, Texas:

                      ERCOT could have increased electric production capacity in Texas in the
                       days and weeks leading up to the February 2021 cold weather event, but
                       consciously chose not to do so;
                      ERCOT owed a duty to Plaintiffs and failed to take reasonable care in
                       estimating and planning the amount of power that would be required in the
                       Winter 2021 season;
                      ERCOT owed a duty to Plaintiffs and failed to take reasonable corrective
                       actions when it became clear that its own projections showed insufficient
                       supply capacity to meet forecast demand;
                      ERCOT persisted in performing the complained of acts and omissions with
                       a conscious indifference to and reckless disregard to the rights, safety, or
                       welfare of the Plaintiffs;
                      ERCOT knew or should have known that this shortage of electricity would
                       leave millions without power during extreme cold weather and that said
                       conditions posed a risk to Texans’ health, life, and property. ERCOT
                       negligently and intentionally failure to inform Plaintiffs of the foreseeable
                       risks thereby proximately causing Plaintiffs’ damages;
                      ERCOT’s negligent and intentional failure to supply power to Plaintiffs
                       was the proximate cause of Plaintiff’s injuries and damages; and
                      ERCOT’s conduct was intentional and knowing.

       30.      Kim Archer, Ind. a/n/f of Kathlyn U. Giles v. ERCOT et al.; Cause No. CC-21-

00678-E; in the Dallas County Court at Law No. 5; Dallas County, Texas:

                      ERCOT performed improper estimates of power needs;
                      Plaintiff asserts claims for negligence and gross negligence against
                       ERCOT, alleging specifically: ERCOT was the manager of the stream of
                       electricity to more than 26 million electric customers in Texas; it knew or
                       should have known of the unreasonably dangerous condition created by the
                       lack of preparedness and readiness to confront the winter storm; and it
                       neither corrected the danger, nor warned Plaintiff and others of the
                       unreasonably dangerous circumstances, which were foreseeable prior to
                       the events complained of;
                      ERCOT created, caused, and/or allowed an unreasonably dangerous
                       condition to exist that exposed Plaintiff and others to needless danger;

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                     ERCOT failed to properly manage the electricity stream to Texas
                      customers;
                     ERCOT’s conduct involved an extreme degree of risk, considering the
                      probability and magnitude of harm to others; and ERCOT knew of the
                      extreme risk, but nevertheless proceeded with conscious indifferences to
                      the rights, safety, and welfare of others, including Plaintiff and her mother;
                      and
                     Plaintiffs complain of mental distress.

       31.    Dimitri Beck v. ERCOT et al.; Cause No. 2021-13927; in the 215th Judicial

District Court of Harris County, Texas:

                     ERCOT’s role was to manage the grid, schedule power generation and
                      availability, assess the state’s needs and forecast power requirements;
                     Plaintiff specifically alleges that ERCOT failed to prepare for the electric
                      needs of the State of Texas during Winter Storm Uri;
                     ERCOT failed to adequately assess the electric needs of the State of Texas
                      during Winter Storm Uri; and
                     ERCOT’s acts and/or omissions rose to the level of gross negligence and
                      warrant the imposition of exemplary damages. ERCOT was well aware of
                      the risk of harm to Plaintiff yet exhibited conscious indifferences to the
                      rights of Plaintiff, which proximately caused the injuries complained of.

       32.    Brandon and Erin Boucher v. ERCOT et al.; Cause No. 2021-11920; in the 125th

Judicial District Court of Harris County, Texas:

                     ERCOT failed to adequately assess the electricity needs of Texas’s
                      residents. ERCOT’s forecast for the maximum electricity that would be
                      consumed far under-estimated the reality;
                     ERCOT was negligent and grossly negligent for: failing to adequately
                      assess the electric needs of the State of Texas during Winter Storm URI,
                      and the Defendants were well aware of the risk of harm to Plaintiffs yet
                      exhibited conscious indifferences to the rights of Plaintiffs which
                      proximately caused the injuries complained of;
                     Plaintiffs complain of PTSD, flashbacks, panic attacks, anxiety and
                      depression;
                     ERCOT failed to adequately assess Texan’s electricity needs; and
                     ERCOT failed in its role as a coordinating and advisory company.

       33.    P.L. Farley and Grover Silas v. ERCOT et al.; Cause No. 2021-11451; in the 80th

Judicial District Court, Harris County, Texas:

                     ERCOT controlled the state’s power load;

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                     ERCOT studied potential risks related to the state’s power needs and
                      forecast those needs for winter 2021;
                     Prior to the winter season, ERCOT issued a report making an assessment
                      of resource adequacy for the state;
                     ERCOT failed to adequately forecast the state’s winter 2021 power needs;
                     ERCOT employed a meteorologist who made weather predictions
                      retarding the winter storm;
                     Although Uri was an extreme weather event, it was hardly unprecedented
                      and unforeseeable; and
                     The decision to implement days-long—rather than rolling—outages is a
                      consequence of ERCOT’s failure to prepare for winter storm Uri.

       34.    Sharon Howeth, Ind. and as Personal Representative of the Estate of Charles

Howeth v. ERCOT et al.; Cause No. 2021-11543; in the 129th Judicial District Court of Harris

County, Texas:

                     ERCOT was negligent for failing to adequately assess the electric needs of
                      the State of Texas during Winter Storm Uri;
                     ERCOT’s acts and/or omissions rose to the level of gross negligence and
                      warrant the imposition of exemplary damages. ERCOT was well aware of
                      the risk of harm to Plaintiff and Defendant yet exhibited conscious
                      indifferences to the rights of Plaintiff and Decedent, which proximately
                      caused the injuries, death, and damages complained of; and
                     ERCOT manages the power grid, schedules power delivery, assesses
                      power needs, forecasts power needs, coordinates and advises about power
                      issues, prepares the state for power during storms, facilitates the delivery
                      of power, and failed in all of these functions.

       35.    Dolores Jackson, Ind. and on behalf of the estate of Elizabeth Jackson v.

ERCOT; Cause No. 2021-12268; in the 61st Judicial District Court of Harris County, Texas:

                     ERCOT failed in its duty to prepare for severe weather;
                     ERCOT prepared a pre-winter report, study, forecast and plan for handling
                      severe winter weather;
                     ERCOT failed in its duty to be sure that the power grid was stable and
                      viable;
                     ERCOT improperly made projections and estimates;
                     Despite knowing the severe storm was approaching Texas, ERCOT failed
                      to take the necessary steps to ensure that the electric grid would remain
                      stable and viable. As the cold weather event developed, the energy demand
                      peaked at or around 69,000 megawatts. Per ERCOT’s own documents, as
                      recently as 2018, ERCOT had experienced a winter demand of 65,915


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                      megawatts and projected that for the 2020-21 winter nearly “83,000 MW
                      of resource capacity is expected to be available for the winter peak;”
                     ERCOT was aware or should have been aware of the increased risk Winter
                      Storm Uri would bring to the electric grid. Instead of increasing or
                      ensuring the stability of the supply of power, ERCOT consciously failed to
                      take proper action to prepare for such a storm;
                     Because of the conscious decisions by ERCOT to not prepare for a cold
                      weather event, rolling blackouts were initiated across Texas. Tellingly,
                      Texas has experienced multiple cold weather events like Winter Storm Uri
                      and this scenario was predicted and warned about multiple times;
                     1989 and 2011 cold weather events were just like that in 2021;
                     ERCOT’s failures led to the power failure events of February 2021 and
                      ERCOT cannot claim such an event was unforeseeable;
                     ERCOT failed to take reasonable care in planning, estimating, and
                      projecting the amount of power that would be required for the 2021 Winter
                      season;
                     ERCOT failed to take reasonable actions when it knew that its own
                      projections and estimates indicated that supply of power would be unable
                      to meet the forecasted demand; and
                     Despite knowing of this extreme risk of harm, ERCOT persisted in the acts
                      and omissions with a conscious indifference to and reckless disregard to
                      the rights, safety, or welfare of others.

       36.    Ambrea Jones et al. v. ERCOT et al.; Cause No. 2021-10369; in the 157th

Judicial District Court of Harris County, Texas:

                     ERCOT’s role is alleged to be to manage, schedule, assess and forecast
                      power needs in the state;
                     Plaintiffs allege claims for negligence and gross negligence against
                      ERCOT. ERCOT failed to adequately asses the electricity needs of
                      Texas’s residents;
                     ERCOT’s forecast for the maximum electricity that would be consumed
                      far under-estimated the reality;
                     ERCOT was well aware of the risk of harm to Plaintiffs yet exhibited
                      conscious indifference to the rights of Plaintiffs, which proximately caused
                      the injuries complained of;
                     ERCOT failed to supply power to the plaintiffs; and
                     Plaintiffs allege that they suffered anxiety and worry.

       37.    Brenda Johnson v. ERCOT et al.; Cause No. 2021-10792; in the 281st Judicial

District Court of Harris County, Texas:

                     ERCOT’s role is to manage the Texas power grid, schedule power, assess
                      power needs and forecast power needs and use;

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                     Plaintiff asserts claims for negligence and gross negligence against
                      ERCOT, alleging specifically: ERCOT failed to prepare for the electric
                      needs of the state of Texas during Winter Storm Uri;
                     ERCOT allegedly failed to adequately assess the electric needs of the State
                      of Texas during Winter Storm Uri; and
                     ERCOT’s acts and/or omissions rose to the level of gross negligence and
                      warrant the imposition of exemplary damages. ERCOT was well aware of
                      the risk of harm to Plaintiff yet exhibited conscious indifference to the
                      rights of Plaintiffs which proximately caused the injuries complained of
                      herein.

       38.    Grace Ybarra Landa, a/n/k of Gilbert Rivera v. ERCOT; Cause No. 2021-10554;

in the 165th Judicial District Court of Harris County, Texas:

                     ERCOT failed to anticipate the state’s energy needs;
                     ERCOT developed an estimate, projections and plan for the state’s energy
                      needs in the event of a winter storm;
                     Texas suffered prior storms that demonstrated weaknesses in the state’s
                      power grid in such circumstances. Reports were prepared after those storms
                      stating needed efforts to avoid a recurrence of power blackouts. ERCOT’s
                      failure to apply the lessons of those earlier storms was a matter of conscious
                      indifference;
                     Plaintiff asserts claims for negligence, negligence per se, and gross
                      negligence against ERCOT;
                     ERCOT could have increased electric production capacity in Texas in the
                      days and weeks leading up to the February 2021 cold weather event, but
                      consciously chose not to do so;
                     Similar cold weather events in 1989 and 2011 led to exactly the same type
                      of rolling blackouts that have affected and continue to affect Texas
                      residents and businesses;
                     This cold weather event and its effects on the Texas energy grid were
                      neither unprecedented, nor unexpected, nor unforeseen;
                     ERCOT had a duty to take reasonable corrective actions when it became
                      clear that its own projections showed insufficient supply capacity to meet
                      forecast demand;
                     ERCOT failed to take reasonable care in estimating and planning the
                      amount of power that would be required in the Winter 2021 season;
                     ERCOT’s acts and omissions involved an extreme degree of risk of harm
                      to others, including Decedent;
                     Despite knowledge of this extreme risk of harm, ERCOT persisted in
                      performing the acts and omissions described herein with a conscious
                      indifference to and reckless disregard of to the rights, safety, or welfare of
                      others; and
                     ERCOT’s conduct resulting in the death of Decedent reflects an entire want
                      of care and establishes that the acts and omissions in question were the
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                      result of actual conscious indifference to the rights, welfare, or safety of
                      the person affected by it, including without limitation Decedent. ERCOT’s
                      conduct constituted more than momentary thoughtlessness, inadvertence,
                      or error of judgment.


       39.    Mauricio and Daysi Marin v. ERCOT et al.; Cause No. 2021-09497; in the 270th

Judicial District Court of Harris County, Texas:

                     ERCOT manages Texas power, schedules its movement and delivery,
                      assesses Texas power needs and forecasts Texas power requirements;
                     Plaintiff asserts claims for negligence and gross negligence against
                      ERCOT, alleging specifically: ERCOT failed to adequately assess the
                      electric needs of the State of Texas during Winter Storm Uri;
                     The Defendants were well aware of the risk of harm to Plaintiffs yet
                      exhibited conscious indifference to the rights of Plaintiffs, which
                      proximately caused the injuries complained of; and
                     Plaintiffs allege that they suffer anxiety and emotional distress.

       40.    Donald McCarley v. ERCOT et al.; Cause No. 2021CCV-60188-1; in the Nueces

County Court at Law No. 1; Nueces County, Texas;

                     Plaintiff asserts claims against ERCOT for Violation of Article I, Section
                      17 of the Texas Constitution, negligence, negligence per se, private
                      nuisance, and gross negligence. Plaintiff specifically alleges:
                     ERCOT could have increased electric production capacity in Texas in the
                      days and weeks leading up to the February 2021 cold weather event, but
                      consciously chose not to do so;
                     This cold weather event and its effects on the Texas energy grid were neither
                      unprecedented, nor unexpected, nor unforeseen. In fact, similar cold
                      weather events in 1989 and 2011 led to exactly the same type of rolling
                      blackouts that have affected and continue to affect Texas residents and
                      businesses;
                     Many of these same power generators, transmitters, and distributors have
                      failed due to ERCOT’s refusal to implement reasonable remedies
                      recommended after winter storms in 1989 and 2011;
                     ERCOT failed to take reasonable care in estimating and planning the
                      amount of power that would be required in the Winter 2021 season;
                     ERCOT failed to take reasonable corrective actions when it became clear
                      that its own projections showed insufficient supply capacity to meet forecast
                      demand; and
                     Despite knowledge of this extreme risk of harm, ERCOT persisted in
                      performing the acts and omissions described herein with a conscious


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                      indifference to and reckless disregard of to the rights, safety, or welfare of
                      others.

         41.   Steven Napier, Individually. and as representative of the estate of Shirley Napier

v. ERCOT et al.; Cause No. 2021-12198; in the 333rd Judicial District Court of Harris County,

Texas:

                     Defendants knew this storm was coming, knew they were not prepared,
                      knew danger was at hand, knew lives were at risk, and instead of warning
                      its customers (because to do so would reveal their own incompetence and
                      greed) Defendants just turned the power off in the middle of the night and
                      left people to die;
                     This cold weather event was entirely foreseeable to Defendants;
                     Defendants failed to take reasonable care to prevent failure and to maintain
                      and update its generation, transmission, and distribution facilities;
                     The overall grid was managed by ERCOT;
                     Previous winter storms had exposed the danger to Defendants, but the
                      lessons and warnings were not heeded;
                     ERCOT’s actions were knowing and malicious; and
                     Plaintiffs seek punitive damages.

         42.   Mary Ellen Nava v. ERCOT et al.; Cause No. C-0710-21-B; in the 93rd Judicial

District Court of Hidalgo County, Texas:

                     ERCOT manages the Texas power grid, schedules power generation and
                      delivery, assesses the state’s power needs, forecasts the state’s power needs,
                      coordinates and advises about power requirements and delivery;
                     Plaintiff asserts claims for negligence and gross negligence against ERCOT,
                      alleging specifically: ERCOT failed to adequately assess the electric needs
                      of the State of Texas during Winter Storm Uri;
                     The Defendants were well aware of the risk of harm to Plaintiff yet
                      exhibited conscious indifference to the rights of Plaintiff, which
                      proximately caused the injuries complained of; and
                     Plaintiff alleges experiencing anxiety and emotional distress.

         43.   Maria Elisa Pineda, Ind. a/n/k of Cristian Yafeth Pavon Pineda v. ERCOT et al.;

Cause No. D-207197; in the Jefferson County Judicial District Court, Jefferson County,

Texas:

                     ERCOT had a duty to take reasonable care in estimating and planning the
                      amount of power that would be required in the Winter 2021 season;

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                     ERCOT erred respecting its projections about supply capacity;
                     Defendants ERCOT and ENTERGY and others could have increased
                      electric production capacity in Texas in the days and weeks leading up to
                      the February 2021 cold weather event, but consciously chose not to do so;
                     This cold weather event and its effects on the Texas energy grid were
                      neither unprecedented, nor unexpected, nor unforeseen;
                     Defendant ERCOT failed to take reasonable care in estimating and planning
                      the amount of power that would be required in the Winter 2021 season;
                     Defendant ERCOT failed to take reasonable corrective actions when it
                      became clear that its own projections showed insufficient supply capacity
                      to meet forecast demand;
                     Despite knowledge of this extreme risk of harm, Defendant ERCOT
                      persisted in performing the acts and omissions described herein with a
                      conscious indifference to and reckless disregard of to the rights, safety, or
                      welfare of others; and
                     Plaintiffs seek punitive damages.

       44.    Mariaelena Sanchez, Ind. and on behalf of others similarly situated v. ERCOT;

Cause No. 2021-10244; in the 133rd Judicial District Court of Harris County, Texas:

                     Despite numerous recurrent failures and clear warnings, ERCOT has
                      obstinately refused to employ simple common-sense precautions to ensure
                      the reliability and security of its electrical network during cold weather
                      events;
                     As early as February 9, 2021, ERCOT was warned that the impending cold
                      weather event may jeopardize the integrity of its electric network if
                      ERCOT failed to take reasonable measures. Despite these clear and
                      unambiguous warnings, ERCOT utterly failed to act with appropriate
                      seriousness or to prevent calamity from befalling its customer;
                     Instead of properly assessing its resources and ensuring that enough
                      generating capacity would be available throughout the duration the cold
                      weather event, ERCOT’s failure to plan and prepare caused cascading
                      systems failures and widespread blackouts;
                     ERCOT’s failure to meet foreseeable demand during the February 2021
                      cold weather events was a direct result of multiple failures to plan and
                      prepare. Not only did ERCOT fail to reserve enough capacity to meet such
                      foreseeable demands, it completely failed to assess the integrity of its
                      infrastructure, the environmental limitations of its power sources, and how
                      abnormally cold weather may impact the availability of its power sources.
                      As a result, the capacity reserved by ERCOT was wholly unsuited and
                      insufficient to perform or to ensure system reliability during conditions in
                      the February 2021 cold weather event;
                     Plaintiff alleges ERCOT was negligent and grossly negligent for: Failing
                      to forecast load and resources needed for anticipated conditions within the
                      seven days preceding the week of February 14, 2021; Failing to perform

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                      fault studies capable of adequately planning or designing system
                      capacities; Failing to assess, monitor and maintain the ERCOT system on
                      a system wide-area basis; Failing to properly model assumptions for
                      emergency operation procedures and make adequate reserves available;
                      Failure to obtain forecasts of real output capability in advance of the
                      anticipated February 2021 cold weather event;
                     Defendant was aware that its failures to meet its duties would likely result
                      in the catastrophic loss of system reliability and extensive blackouts.
                      Defendant’s prior breaches of these duties in 1989 and 2011 led to those
                      exact results, yet Defendant persisted in ignoring its duties to Plaintiff and
                      class members;
                     Defendant further was aware that catastrophic loss of system reliability
                      during a cold weather event could result in the death, widespread human
                      suffering, and damages to property of its retail customers; and
                     Despite knowledge of this extreme risk of harm, Defendant persisted in its
                      course of conduct with a conscious and callous indifference to, and reckless
                      disregard of its rights, safety, and welfare of Plaintiff and Class Members.

       45.    Herlinda Trujillo v. ERCOT at al.; Cause No. 2021-11566; in the 80th Judicial

District Court, Harris County, Texas:

                     ERCOT manages, schedules, assesses, forecasts, coordinates and advises
                      about Texas power requirements and supply;
                     ERCOT failed to adequately assess the electricity needs of Texas’s
                      residents. ERCOT’s forecast for the maximum electricity that would be
                      consumed far under-estimated the reality;
                     ERCOT was negligent and grossly negligent for: failing to adequately
                      assess the electric needs of the State of Texas during Winter Storm Uri;
                      failing to obtain additional electricity once it became obvious that the entity
                      had failed to adequately assess the electric needs of the state;
                     Defendants were well aware of the risk of harm to plaintiff yet exhibited
                      conscious indifference to the rights of Plaintiff; and
                     Plaintiff alleges anxiety and emotional distress.

       46.    Melissa Villanueva et al. v. ERCOT et al.; Cause No. 21-02-60953-CV; in the

79th Judicial District Court, Jim Wells County, Texas:

                     ERCOT failed to timely increase production;
                     ERCOT failed to anticipate energy demands;
                     ERCOT had a duty to take reasonable care in estimating and planning
                      power needs for the 2021 winter season;
                     ERCOT had a duty to take reasonable corrective actions respecting its
                      power projections;


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                     Defendants ERCOT, AEP, and AEP Texas, and others could have
                      increased electric production capacity in Texas in the days and weeks
                      leading up to the February 2021 cold weather event, but consciously chose
                      not to do so;
                     This cold weather event and its effects on the Texas energy grid were
                      neither unprecedented, nor unexpected, nor unforeseen;
                     Despite knowledge of this extreme risk of harm, Defendant ERCOT
                      persisted in performing the acts and omissions described herein with a
                      conscious indifference to and reckless disregard of to the rights, safety, or
                      welfare of others;
                     Plaintiffs seek punitive damages; and
                     ERCOT caused Plaintiff’s decedent to lose power.

       47.    Civil Investigative Demand from the Texas Office of the Attorney General,

Consumer Protection Division:

                     Pursuant to the Texas Attorney General’s specific authority under article
                      IV, section 22 of the Texas Constitution and section 17.61 of the Texas
                      Deceptive Trade Practices – Consumer Protection Act, sections 17.41-.63,
                      Texas Business and Commerce Code (“DTPA”), Electric Reliability
                      Council of Texas, Inc. was directed to produce documents pertaining to the
                      February 2021 cold weather event.
                     On information and belief, no lawsuit has been filed in connection to this
                      investigative demand against ERCOT.

       48.    Texas Reliability Entity, Inc. Notice to Preserve Documentation – Data Hold

Regarding Extreme Cold Weather Event During February 2021:

                     On February 17, 2021, The Texas Reliability Entity, Inc. (“Texas RE”) sent
                      a confidential Notice to Preserve Documentation related to Winter Storm
                      Uri, including: Operational communication, including operator logs,
                      recorded voice communications, and e-mails and other forms of
                      communication to or from operations staff that may be directly or indirectly
                      related or relevant to the Event; System operational data, outage reporting
                      and scheduling, fuel surveys, entity operating plans and related material
                      and; Study cases and results from on-line or off-line contingency analysis
                      or stability analysis.

                     On information and belief no lawsuit has been filed in connection with
                      notice to preserve documentation, and Texas RE is not seeking or
                      demanding damages related to any claim for bodily injury or property
                      damage.



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       49.     The City of Denton v. ERCOT et al.; Cause No. 21-1421-16; in the 16th Judicial

District Court, Denton County, Texas:

                     The City of Denton filed a suit (“City of Denton Lawsuit”) for declaratory
                      judgment and application for temporary restraining order and temporary
                      injunction, alleging ERCOT violated Article XI, Section 3 and Article III,
                      Section 52(a) of the Texas Constitution by requiring the City to pay funds
                      and lend its credit to cover private debts.
                     Denton’s complaint is directed to billing for electricity and the deliberate
                      failure of some communities to pay for electricity that they use.
                     Denton’s complaint is based on certain contracts to which it, and other
                      communities, are parties.
                     Denton’s does not seek damages. Rather, it seeks an injunction.
                     There are no allegations of bodily injury or property damage.

                            NO COVERAGE FOR THE CLAIMS

       50.     Cincinnati has no obligation under the Policy to defend or indemnify ERCOT in

connection with the Underlying Matters, including the Underlying Lawsuits.

       51.     There is no duty to defend or indemnify the Underlying Matters because there is no

occurrence. In order for there to be an occurrence, there must be an accident. An accident is a

fortuitous, unexpected, and unintended event.

       52.     None of the allegations in the Underlying Lawsuits assert that the alleged damages

were caused by any accident. In fact, each asserts facts to the contrary. The allegations in the

Underlying Lawsuits allege ERCOT either knew, should have known, expected, and/or intended,

that Winter Storm Uri would cause the same power outages which occurred as a result of previous

storms in Texas, including storms in 1989 and 2011.

       53.     The Underlying Lawsuits allege the power outages caused by Winter Storm Uri

were a result of the exact same failures including failures of the same generators which failed in

the previous winter storms, and therefore, the power outages were foreseeable, expected, and/or

intended.


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        54.    The damages alleged in the Underlying Lawsuits were not caused by an accident,

and the Claims do not satisfy the Policy’s insuring agreement for Bodily Injury or Property

Damage Coverages.

        55.    In addition and/or in the alternative, coverage is precluded by the exclusion for

Expected or Intended Injury.

        56.    In addition and/or in the alternative, coverage is precluded by the exclusion for

Contractual Liability.

        57.    In addition and/or in the alternative, coverage is precluded by the Policy’s

exclusion for Testing or Consulting Errors and Omissions.

        58.    In addition and/or in the alternative, coverage is precluded under the Policy by the

Failure to Supply Exclusion.

        59.    In addition, any claim which does not allege damages for bodily injury or property

damage is not covered.

        60.    On information and belief, there may be additional underlying claims or suits

against ERCOT resulting from the power outages due to Winter Storm Uri for which no notice

has been given to Cincinnati. To the extent there are additional underlying matters, it is

Cincinnati’s intention that they be included in and addressed by this complaint. To the extent that

any such additional underlying matters arise, Cincinnati will seek to amend this complaint to add

them.

        61.    There is no provision, term, or condition of the Policy that provides coverage to

ERCOT for the claims set forth in the Underlying Matters which make the basis of this declaratory

judgment action.




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       62.     Because ERCOT seeks coverage for the Underlying Matters, and Cincinnati denies

a duty to defend and/or indemnify them, there exists an actual controversy of a justiciable nature

between Cincinnati and ERCOT concerning the rights and obligations of the parties to the

insurance contract.

       63.     Cincinnati has complied with all terms, conditions and provisions of the insurance

Policy and specifically reserves any and all rights and defenses it has or may have under the Policy,

including additional rights and defenses that may become apparent throughout the course of

discovery in this case.

       64.     By virtue of the foregoing, a declaratory judgment is both necessary and proper in

order to set forth and determine the rights, obligations, and liabilities that exist between the parties

in connection to the aforementioned Policy.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, The Cincinnati Insurance Company, prays that this Court enter

judgment in its favor and against Defendant ERCOT declaring:

       A.      That it has no duty to defend ERCOT with respect to the Underlying Matters
               including the Underlying Lawsuits;

       B.      That it has no duty to indemnify ERCOT with respect to the Underlying Matters
               including the Underlying Lawsuits;

       C.      For such other and further relief as the Court deems just and equitable under the
               circumstances.




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                                                  Respectfully submitted,


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